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               EXHIBIT “A”
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                   COLLECTIVE ACTION SETTLEMENT AGREEMENT

        This Collective Action Settlement Agreement (“Agreement”) is made in settlement of the

 claims asserted in the case Privette, et al v. Waste Pro of North Carolina, Inc., Case No. 2:19-cv-

 3221-DCN (the “Action”), pending in the United States District Court for the District of South

 Carolina (the “Court”). The Agreement is made by and between the Parties: Named Plaintiff

 Kenneth Privette (“Named Plaintiff”) and the individuals who chose to join the case as party

 plaintiffs listed in Exhibit A to this Agreement (“Opt-In Plaintiffs”) on the one hand

 (collectively, “Plaintiffs”) and, on the other hand, Defendant Waste Pro of North Carolina, Inc.

 (“Defendant” or “WPNC”). Plaintiffs and Defendant may be referred to herein individually as a

 “Party” or collectively as the “Parties.”

        This Agreement is made by and through counsel for Plaintiffs and Defendant, and is

 made as a compromise between them for the complete and final settlement of the claims,

 differences and causes of action raised by Plaintiffs in the Action.

                                             RECITALS

        A.      On October 2, 2017, the Named Plaintiff Kenneth Privette, along with two other

 waste disposal drivers, filed the predecessor to this Action in the District Court of South Carolina

 against WPNC and other entities. See Anthony Wright, Daniel Hansen, and Kenneth Privette,

 individually and on behalf of others similarly situated v. Waste Pro USA, Inc., Waste Pro of

 Florida, Inc., Waste Pro of South Carolina, Inc., and Waste Pro of North Carolina, Inc. (District

 of South Carolina, Case No. 2:17-cv-2654-DCN). Ultimately, on November 12, 2019, the

 District of South Carolina severed the predecessor action, resulting in this Action being filed

 between the Parties.




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        B.      In the Action, the Named Plaintiff alleged that Defendant violated the Fair Labor

 Standards Act (“FLSA”) by failing to pay him and other drivers complete overtime wages for all

 hours worked. The Named Plaintiff sought damages, penalties, attorneys’ fees, and costs, on his

 own behalf and on behalf of similarly situated individuals.

        C.      On April 16, 2020, the Court granted the Named Plaintiff’s Motion for

 Conditional Certification. Notice of the lawsuit was sent to the putative collective class. In total,

 119 Plaintiffs (including the Named Plaintiff) have filed consents to join the Action (and who are

 identified on Exhibit A), which state:

     I designate the Class Representative(s) as my agent to make decisions on my behalf
     concerning the litigation, the method and manner of conducting the litigation, the
     entering of an agreement with Plaintiff’s counsel concerning attorneys’ fees and costs,
     and all other matters pertaining to the lawsuit.

        D.      Over the next several months, the Parties participated in extensive discovery and

 fact investigations; exchanged information, including payroll records and time records; and

 provided each other with additional details regarding the Plaintiffs’ fact allegations and

 Defendant’s fact defenses. Counsel for both Parties reviewed and analyzed the records for

 purposes of calculating Plaintiffs’ potential damages.

        E.      On May 27, 2021, the Parties engaged in Zoom videoconference mediation with

 Carlos Burruezo acting as the mediator. Carlos Burruezo is very experienced in mediating wage

 and hour collective actions. Even though the Parties did not settle at mediation, the Parties

 continued discussing resolution, and after extensive arm’s length negotiations, the Parties

 reached an agreement to settle the claims asserted in the Action.

        F.      Based upon the investigation of Plaintiffs’ Counsel and taking into account the

 contested factual and legal issues involved, the expense and time necessary to prosecute the

 action through trial, the risks and costs of further prosecution of the Action, the uncertainties of


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 complex litigation, and the benefits to be received pursuant to this Agreement, Plaintiffs’

 Counsel and the Named Plaintiff have concluded that a settlement with Defendant on the terms

 set forth in this Agreement is fair, reasonable, adequate, and in the best interests of the Plaintiffs.

 The Plaintiffs and Plaintiffs’ Counsel have agreed to settle this Action with Defendant on the

 terms set forth in this Agreement.

        G.      Defendant denies the claims asserted in the Action and makes no admission

 whatsoever of liability or violation of any statute. Defendant nevertheless desires to settle the

 Action on the terms set forth in this Agreement for the purpose of avoiding the burden, expense,

 and uncertainty of continuing litigation, and for the purpose of putting to rest the controversies

 engendered by the Action.

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED among the

 Parties, by and through their respective attorneys of record, and subject to the approval of the

 Court, that in consideration of the foregoing and of the promises and mutual covenants contained

 herein, and other good and valuable consideration, the Action shall be settled, released, and

 dismissed with prejudice, upon and subject to the following terms and conditions:

 1.     DEFINITIONS

        For purposes of this Agreement, the following definitions shall apply, in addition to the

 definitions set forth in other sections of this Agreement:

        A.      “Defendant’s Counsel” shall mean the law firm of Stovash, Case & Tingley, P.A.

        B.      “FLSA” shall mean the federal Fair Labor Standards Act, 29 U.S.C. §201, et seq.

        C.      “Plaintiffs’ Counsel” shall mean the law firms of Morgan & Morgan, P.A. and

 Anderson Alexander, PLLC.

        D.      “Released Claims” has the meaning set forth in Section 3, infra.



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        E.      “Released Parties” means Waste Pro of North Carolina, Inc., including any of its

 past, present and future, direct and indirect parents (including, without limitation, Waste Pro

 USA, Inc.), franchisors, partners, subsidiaries, affiliates, predecessors, agents, officers, directors,

 managers, shareholders, employees, successors, agents, representatives, insurers, attorneys or

 other persons or entities acting on their behalf.

        F.      “Settlement Effective Date” shall mean the date upon which the Court enters an

 Order granting approval of the settlement or, if an appeal is filed on the Court’s Order granting

 approval of the settlement, the date of entry of the last final Order resolving all appeals and

 affirming the Court’s Order approving the settlement.

 2.     SETTLEMENT AMOUNT

        In consideration for the actions, promises and mutual covenants and releases described

 herein, Defendant shall pay the total gross sum of $Five Hundred Twenty-One Thousand Dollars

 ($521,000.00) (the “Settlement Amount”) in settlement of all the Released Claims as described

 in Section 3 infra. The Settlement Amount includes all amounts to be paid by Defendant for

 payments to the Plaintiffs (including a service award to the Named Plaintiff) and all attorneys’

 fees, litigation costs, and expenses of Plaintiffs’ Counsel, costs incurred in administering this

 settlement, and any other monetary claims that were or could have been made by Plaintiffs in the

 Action. The Settlement Amount is the maximum amount that Defendant is obligated to pay

 under this Agreement, except for the employer’s share of payroll taxes on the payments made to

 Plaintiffs as W-2 income. In no event shall Defendant be required to pay more than the

 Settlement Amount in complete satisfaction of all its obligations under this Agreement, except

 for Defendant’s payment of the employer’s share of payroll taxes.




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 3.     RELEASED CLAIMS The following may be referred to collectively as the “Released

 Claims”:

        A.      The Named Plaintiff, on behalf of his heirs, beneficiaries, devisees, legatees,

 executors, administrators, trustees, conservators, guardians, personal representatives, successors-

 in-interest, and assigns, hereby knowingly and voluntarily releases and discharges the Released

 Parties from any and all claims and rights of any kind that he may have, whether now known or

 unknown, including, but not limited to, arising out of or in any way connected with his

 employment with Defendant from the beginning of time through the execution of this

 Agreement. These claims and rights released include, but are not limited to, claims under Title

 VII of the Civil Rights Act of 1964 (as amended); 42 U.S.C. § 1981 (as amended); the Age

 Discrimination in Employment Act; the Equal Pay Act; the Americans With Disabilities Act (as

 amended); Sections 503 and 504 of the Rehabilitation Act of 1973; the Family Medical Leave

 Act; the Employee Retirement Income Security Act; the Occupational Safety and Health Act; the

 Workers’ Adjustment and Retraining Notification Act, as amended; any state, civil or statutory

 laws, including any and all human rights laws and laws against discrimination, any other federal,

 state or local fair employment statute, code or ordinance, common law, contract law, tort,

 including, but not limited to, fraudulent inducement to enter into this contract, and any and all

 claims for attorneys’ fees and costs.

        B.      Each Opt-In Plaintiff, on behalf of his/her respective heirs, beneficiaries, devisees,

 legatees, executors, administrators, trustees, conservators, guardians, personal representatives,

 successors-in-interest, and assigns, hereby knowingly and voluntarily releases and discharges the

 Released Parties from any and all known and unknown claims that were raised or that could have

 been raised in the Action, including claims under the Fair Labor Standards Act (“FLSA”); any



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 claims under the theory of quantum meruit; or any other state, federal, or local wage-and-hour

 laws related to the payment of wages, any other benefits, liquidated damages, penalties, or

 interest under the FLSA or applicable state laws (including statutory and common law claims)

 against Waste Pro of North Carolina, Inc., and/or the Released Parties from the beginning of time

 through the execution of this Agreement.

 4.     COURT APPROVAL

        A.      This Agreement is conditioned upon the Court’s approving the settlement terms

 set forth herein. The Parties agree to submit to the Court a Joint Motion to Approve Settlement,

 seeking an Order from the Court, inter alia: (1) approving the terms of the Parties’ settlement as

 reflected in this Agreement; (2) providing for application of the Release set forth in Paragraph 3

 of this Agreement to apply to all Plaintiffs who negotiate their settlement checks (as explained

 below); and (3) dismissing the Action and Plaintiffs’ claims with prejudice.

        B.      If the Court denies with prejudice the Joint Motion to Approve Settlement, then

 this Agreement shall be deemed null and void, of no force and effect, inadmissible as evidence,

 and of no probative value, and the Parties hereto represent, warrant, and covenant that neither the

 Agreement nor any discussions, conversations, or negotiations leading to execution of the

 Agreement, will be used or referred to for any purpose whatsoever.

 5.     NO ADMISSION OF LIABILITY; INADMISSIBILITY OF THIS AGREEMENT;
        PARTIES’ AUTHORITY

        A.      Nothing contained in this Agreement shall be construed as or deemed an

 admission of liability, damages, culpability, negligence, wrongdoing, or other unlawful behavior

 on the part of Defendant. Defendant denies any liability or wrongdoing of any kind associated

 with the claims alleged and the allegations contained in the Complaint.




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        B.      This Agreement is a compromise of disputed claims and shall not be construed as

 an admission of liability at any time or for any purpose, under any circumstances, by the Parties,

 the Released Parties, or by any third-party. The Parties further acknowledge and agree that

 neither this Agreement nor the settlement shall be used to suggest an admission of liability in any

 dispute the Parties or any third-parties may have now or in the future with respect to any person

 or entity, including Defendant and/or the Released Parties. Neither this Agreement nor anything

 in it, nor any part of the negotiations that occurred in connection with the creation of this

 Agreement, shall constitute evidence with respect to any issue or dispute in any lawsuit, legal

 proceeding, or administrative proceeding, and shall be inadmissible in evidence in any

 proceeding, except an action or proceeding to approve, interpret, or enforce its terms.

 6.     ALLOCATION OF SETTLEMENT AMOUNT

        A.      Subject to Court approval, the Settlement Amount shall be payable as follows: (1)

 $309,500.00 will be allocated to payments to be made to Plaintiffs in the amounts set forth in the

 spreadsheet attached hereto as Exhibit A (“Settlement Payments”); and (2) $208,000 shall be

 payable to Plaintiffs’ counsel for attorney’s fees and for reimbursement of litigation costs and

 expenses. Defendant will not oppose Plaintiffs’ Counsel’s application to the Court for approval

 of attorneys’ fees and litigation costs in the amounts set forth in this section.

        B.      Plaintiffs’ Counsel may apply to the Court to allocate a reasonable service

 payment of $3,500 from the Settlement Amount for the time and effort the Named Plaintiff spent

 in securing the settlement in this Action (in addition to compensating him for his portion of the

 overall settlement proceeds). Defendant will not oppose this service payment request.

 7.     SETTLEMENT PAYMENTS AND DISTRIBUTION OF CHECKS




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         A.     Within fourteen (14) days after the Settlement Effective Date, Defendant shall

 provide to Plaintiffs’ Counsel the Settlement Payments for Plaintiffs’ counsel to distribute to

 Plaintiffs. Plaintiffs’ counsel will be responsible for the costs of distributing the Settlement

 Payments to Plaintiffs.

         B.     The Settlement Payments will be paid to Plaintiffs in two separate checks, each of

 which will be for 50% of the gross settlement amount allocated to that Plaintiff in Exhibit A.

 The first check will be allocated as wages, and payroll taxes will be withheld from this payment,

 which will be reported on IRS Form W-2. The second check will be allocated as liquidated

 damages under the FLSA, and payroll taxes will not be withheld from this payment, which will

 be reported on an IRS Form 1099.

         C.     Each settlement check will have a Release printed on the back of the check that

 will state:

      By negotiating this check, I hereby release and discharge Waste Pro of North Carolina,
      Inc., including any of its past, present and future, direct and indirect parents,
      franchisors, partners, subsidiaries, affiliates, predecessors, agents, officers, directors,
      managers, employees, successors, agents, representatives, insurers, attorneys or other
      persons or entities acting on their behalf (the “Released Parties”), from any and all
      known and unknown claims that were raised or that could have been raised in the
      Action, including claims under the Fair Labor Standards Act (“FLSA”); any claims
      under the theory of quantum meruit; or any other state, federal, or local wage-and-hour
      laws related to the payment of wages, any other benefits, liquidated damages, penalties,
      or interest under the FLSA or applicable state laws (including statutory and common
      law claims) against Waste Pro of North Carolina, Inc., and/or the Released Parties.

 Any Plaintiff who fails to timely negotiate a Settlement Payment check will forfeit his or her

 right to receive any payments under this Agreement.

         D.     Each Settlement Payment check shall indicate on its face that it will be void after

 one hundred eighty (180) days. Accordingly, Plaintiffs each shall have one hundred eighty (180)

 days to cash, deposit, or otherwise negotiate each of their Settlement Payment checks.



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 Settlement Payment checks that have not been cashed, deposited, or otherwise negotiated within

 180 days shall be null and void.     Any funds from such Settlement Payment checks shall be

 retained by Defendant.

         E.     Each Plaintiff shall be obligated to obtain his or her own independent tax advice

 concerning the proper income reporting and tax obligations regarding any and all payments

 and/or other remuneration he or she receives or obtains pursuant to this Agreement, and shall

 further assume the responsibility of remitting to the Internal Revenue Service and any other

 relevant taxing authorities any and all amounts required by law to be paid out of any monies

 received, or other remuneration obtained, under this Agreement, without any contribution

 whatsoever from any of the Released Parties or Plaintiffs’ Counsel. Nothing in this Agreement

 shall be construed as Defendant or Plaintiffs’ Counsel providing any advice regarding the

 reporting or payment of taxes or the tax consequences of a Plaintiff’s participation in any portion

 of this Agreement.

         F.     All payments made to Plaintiffs in resolution of their claims in this Action shall

 not be considered wages for purposes of calculating or recalculating benefits provided by or to

 Defendant’s employees and their beneficiaries under the terms and conditions of any benefit

 plan.

         G.     Plaintiffs’ Counsel will send a Notice to Plaintiffs, along with the Settlement

 Payments, in the form attached hereto as Exhibit B.

         H.     Within fourteen (14) days of the Settlement Effective Date, Defendant shall pay

 the attorneys’ fees and litigation costs and expenses approved by the Court to Plaintiffs’ Counsel

 via wire transfer or by check. Defendant will issue to Morgan and Morgan, P.A. and Anderson




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 Alexander, PLLC an IRS Form 1099 for the attorneys’ fees and litigation costs and expenses

 approved by the Court.

         I.      Except as otherwise provided herein, the Parties shall bear their own attorneys’

 fees, costs, and expenses incurred in the prosecution, defense, or settlement of the Action.

 Plaintiffs and Plaintiffs’ Counsel shall not seek an award of attorneys’ fees, costs, or expenses in

 the Action except as set forth in Sections 6(A) and 7(H).

 8.      REASONABLE COMPROMISE OF BONA FIDE DISPUTE

         The Parties agree that the terms of this Agreement represent a reasonable compromise of

 disputed issues, arising from a bona fide dispute over FLSA coverage and the merits of

 Plaintiffs’ claims and alleged damages and agree to represent the same to the Court. The Parties

 further agree that the settlement is a fair, reasonable, and adequate resolution of Plaintiffs’ claims

 and is in the best interests of the Plaintiffs.




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 9.     AUTHORITY TO BIND

        The Named Plaintiff and Plaintiffs’ Counsel warrant and represent that they are the duly

 authorized representatives of all Plaintiffs and they are authorized to make decisions on behalf of

 all Plaintiffs, including in connection with the settlement of Plaintiffs’ claims in the Action. The

 Named Plaintiff and Plaintiffs’ Counsel also warrant and represent that they are expressly

 authorized to take all appropriate action required or permitted to be taken by Plaintiffs under this

 Agreement to effectuate its terms. The Named Plaintiff and Plaintiffs’ Counsel further warrant

 and represent that they are duly authorized to execute this Agreement on behalf of all Plaintiffs.

 10.    MUTUAL FULL COOPERATION

        Counsel for the Parties agree to and shall use their best efforts to fully cooperate with

 each other in good faith and to take all actions reasonably necessary to implement the terms of

 this Agreement.

 11.    CONSTRUCTION

        The Parties agree that the terms and conditions of this Agreement are the result of lengthy

 and intensive arm’s-length negotiations between the Parties, with Plaintiffs represented by

 Plaintiffs’ Counsel, and that this Agreement shall not be construed in favor of or against any

 party by reason of the extent to which any party or his, her, or its counsel participated in the

 drafting of this Agreement. The Parties request that before declaring any provision of this

 Agreement invalid, the Court shall first attempt to construe all provisions valid to the fullest

 extent possible consistent with applicable precedents and the intent expressed in this Agreement.

 12.    MEDIATION OF DISPUTES

        Any dispute that may arise under this Agreement, including any dispute with respect to

 administration of the settlement benefits to Plaintiffs, shall first be submitted by mutual



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 agreement of the Parties to Carlos Burruezo for mediation in Orlando, Florida, or to another

 mediator as may be agreed to by the parties before the dispute is submitted to the Court.

 13.      CAPTIONS AND INTERPRETATIONS

          Section titles or captions contained in this Agreement are inserted as a matter of

 convenience and for reference, and in no way define, limit, extend, or describe the scope of this

 Agreement or any of its provisions.

 14.      INTEGRATION CLAUSE

          This Agreement and the attached Exhibits A–B, which are incorporated fully herein,

 contain the entire agreement between the Parties relating to the settlement of the Action, and all

 prior or contemporaneous agreements, understandings, representations, and statements, whether

 oral or written and whether by a Party or such Party’s legal counsel, are merged in this

 Agreement. No rights under this Agreement may be waived except in a writing signed by the

 counsel for the Parties. This Agreement, including the attached Exhibits A–B, may not be

 changed, altered, or modified, except in a writing signed by the Parties and approved by the

 Court.

 15.      BINDING ON ASSIGNS

          This Agreement shall be binding upon and inure to the benefit of the Parties and their

 respective heirs, trustees, executors, administrators, successors and assigns.

 16.      COUNTERPARTS & SIGNATURES

          This Agreement may be executed in counterparts, and a Party or counsel has signed and

 delivered at least one such counterpart, each counterpart shall be deemed an original, and, when

 taken together with other signed counterparts, shall constitute one Agreement. This Agreement

 may be executed by facsimile signatures, PDF, or email, which shall be deemed to be originals.



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 17.    APPLICABLE LAW

        This Agreement shall be governed by and construed in accordance with federal law and

 the law of the State of North Carolina, to the extent federal law does not apply.

 18.    RETENTION OF JURISDICTION

        The Parties intend to request that the Court retain jurisdiction with respect to the

 implementation and enforcement of the terms of the Agreement, and all Parties submit to the

 jurisdiction of the Court for purposes of implementing and enforcing the terms of this

 Agreement.



 IT IS SO STIPULATED.
        Aug 4, 2021
 Dated:___________________             PLAINTIFF KENNETH PRIVETTE

                                       By:

                                               Kenneth Privette (Aug 4, 2021 17:30 EDT)

                                               Plaintiff Kenneth Privette, Individually and as Class
                                                       Representative




        Aug 5, 2021
 Dated:___________________             ANDERSON ALEXANDER, PLLC

                                       By:
                                               Clif Alexander
                                               Clif Alexander (Aug 5, 2021 14:40 CDT)


                                               Attorneys for Plaintiffs


        Aug 6, 2021
 Dated:___________________             MORGAN & MORGAN, P.C.

                                       By:     C. Ryan Morgan
                                               C. Ryan Morgan (Aug 6, 2021 08:31 EDT)
                                               _______________________


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Name                   Settlement Payment
Akers, J.                           $2,104.39
Alsbrooks, B.                       $2,494.52
Barnette, J.                          $805.05
Bass, Leroy                           $315.03
Beam, D.                              $943.44
Biddle, Brandon                       $544.14
Blackman, O.                        $3,491.14
Blackwell, T.                       $1,301.98
Blocker, T.                         $1,326.24
Braham, M.                          $4,775.10
Brown, D.                             $576.68
Brown, G.                           $4,126.36
Brown, J.                              $71.60
Bull, M.                            $1,736.34
Burks, Rodney                           $0.00
Canty, Burgess                      $3,379.38
Carter, Ezekiel                     $2,606.13
Castaneda, Gerardo                  $3,952.16
Clark, Melvin                       $4,639.49
Clawson, Thaddius                     $973.72
Clement, David                      $1,346.03
Collins, Christian                  $1,031.00
Collins, Kumar                      $3,952.16
Couture, L.                           $353.62
Crewell, T.                         $1,041.97
Cross, Prentiss                     $1,890.16
Crump, G.                             $912.24
Dardas, Jonathan                      $286.39
Davidson, L.                        $3,222.42
Decker, B.                          $4,162.06
Dibble, M.                            $558.13
Dillon, Diana                       $3,436.66
Elder, G.                           $1,038.52
Elder, Steven                       $2,777.97
Ervin, L.                           $4,006.07
Featherstone, Steven                   $28.64
Fields, D.                            $829.61
Fincher, T.                           $373.85
Gaddy, W.                           $2,567.18
Garcia, D.                          $1,207.34
Garcia, J.                          $5,934.03
Gardner, D.                           $132.13
Gibbs, D.                             $286.39
Glenn, B.                           $6,892.54
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Goodwin, A.                           $2,990.01
Goodwin, J.                           $1,351.18
Griffin, A.                           $3,145.88
Griffin, Mitchell                     $3,522.58
Hal Grigg                             $3,830.11
Hall, Gary                            $1,661.05
Harris, H.                            $6,469.65
Henderson, Gaston                       $286.39
Hernandez, Gary                       $2,520.22
Hudgins, B.                             $536.53
Hundley, M.                           $6,463.38
Hurst, J.                             $1,751.82
Huss, Ronald                            $343.67
Jackson, J.                             $809.34
Jago, J.                              $1,667.49
Jenkins, Lewon                          $801.89
Jimenez Friedrich, Kengman            $5,899.60
Jones, Jeffery                        $2,004.72
Kennedy, J.                           $3,170.11
Kennedy, M.                             $753.58
Kennedy, T.                           $2,457.15
Lampkin, G.                           $2,963.81
Leak, William                         $1,632.41
Lewis, C.                             $1,714.65
Littke, A.                            $3,364.28
Marcias (Gonzalez), Roberto Alfonos   $6,615.57
Maxwell, E.                           $4,388.15
Mayes, A.                             $2,571.28
McClain, E.                           $1,891.72
McKenzie, G.                          $1,944.63
Millwood, K.                          $2,728.24
Mole, C.                                 $71.60
Montague, L.                            $229.11
Moore, M.                             $1,992.97
Murphy, T.                            $1,950.07
Myers, Dirk                           $4,639.49
Nelson, M                             $5,295.49
Page, A.                              $7,091.68
Presler, E.                           $1,366.43
Privette, K.                          $1,893.91
Proper, J.                            $7,362.19
Pugh, R.                                $180.48
Randall, R.                           $2,238.39
Ratchford, Dainelle                   $1,088.28
Ray, Anthony                            $687.33
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Reyes, Alejandro               $2,634.77
Richardson, Matthew              $572.78
Rivera, B                        $535.66
Robinson, B                    $3,351.45
Robinson, C.                   $1,488.45
Robinson, D.                   $3,493.94
Roper, D.                      $5,270.93
Satterfield, Cha.              $4,481.63
Satterfield, Chr.              $9,305.29
Schramm, S.                      $417.80
Sheppard, S.                   $2,010.22
Singleton, C.                  $3,987.73
Smith, D.                         $71.60
Soublet, J.                    $1,774.66
Spears, Derrick                $2,119.27
Spencer, A.                    $6,966.43
Spruill, Brian                 $2,462.94
Stafford, A.                   $2,495.95
Stepp, B.                      $4,158.60
Stitt, A.                      $1,438.15
Streater, F.                   $2,038.71
Tennyson, A.                   $2,988.98
Thomas, A.                     $2,551.42
Wallace Jr., T.                $2,484.21
Wallace, K.                    $1,177.26
Webb Jr., E.                  $16,291.28
Whitted, T.                    $4,430.13
Williams, H.                   $1,912.06
Williams, L.                   $8,713.78
Winston, J.                      $649.36
Woodard, D.                      $456.07

                             $309,500.00
